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                                               Hearing Date and Time: 10/03/2019 at 1:30 p.m.

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

                                                       )
                                                       )       Chapter 11
                                                       )
                                                       )       Case No. 19-76260-ast
In re:                                                 )       Case No. 19-76263-ast
                                                       )       Case No. 19-76267-ast
Absolut Facilities Management, LLC, et al.,            )       Case No. 19-76268-ast
                                                       )       Case No. 19-76269-ast
                                                       )       Case No. 19-76270-ast
                               Debtors.1               )       Case No. 19-76271-ast
                                                       )       Case No. 19-76272-ast
                                                       )
                                                       )       (Jointly Administered)
                                                       )


    (i) JOINDER OF CAPITAL FUNDING, LLC TO 6060 ARMOR ROAD, LLC’S
   APPLICATION FOR THE ENTRY OF ORDERS GRANTING A TEMPORARY
  RESTRAINING ORDER AND PRELIMINARY INJUNCTION ENJOINING THE
DEBTORS FROM IMPLEMENTING UNAPPROVED PLAN OF CLOSURE PRIOR TO
 APPROVAL UNDER 11 U.S.C. SECTION 363 AND (ii) OBJECTION OF CAPITAL
FUNDING, LLC TO DEBTORS’ MOTION FOR ENTRY OF AN ORDER APPROVING
      THE DEBTORS’ PLAN OF CLOSURE FOR ORCHARD PARK FACILITY




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and
Rehabilitation at Allegany, LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park,
LLC (8266); Absolut Center for Nursing and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard
Brooke, LLC (1641); Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC (8300);
Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC (8133); and Absolut Center for
Nursing and Rehabilitation at Westfield, LLC (7924).
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               Capital Funding, LLC, by its attorneys, Whiteford, Taylor & Preston LLP,

respectfully submits this (i) Joinder to 6060 Armor Road, LLC’s Application for the Entry of

Orders Granting a Temporary Restraining Order and Preliminary Injunction Enjoining the

Debtors from Implementing Unapproved Plan of Closure Prior to Approval Under 11 U.S.C.

Section 363 [Doc. Nos. 55 and 56], and (ii) Objection to the Debtors’ Motion for Entry of an

Order Approving the Debtors’ Plan of Closure for the Orchard Park Facility dated September 20,

2019 [Doc. No. 51].

               1.      On or about June 16, 2011, 6060 Armor Road, LLC (“Armor Road”), the

owner of the property located at 6060 Armor Duells Road, Orchard Park, New York, 14127 (the

“Property”) that is leased to certain of the Debtors, borrowed $17,776,000 from Capital Funding.

The proceeds were used to refinance a nursing home project known as the Absolut Center for

Nursing and Rehabilitation at Orchard Park, and an adult residential care project known as

Absolut at Orchard Brooke. The loan is insured by the Federal Housing Administration, a unit of

the United States Department of Housing and Urban Development (“HUD”).

               2.      As security for the loan, Armor Road granted to Capital Funding a

security interest in, among other things, the Property and the Lease. In addition, as required by

HUD, the Debtors granted to Capital Funding a security interest in all of their property related to

the project, including licenses, Medicare and Medicare Provider Agreements, accounts and

health care insurance receivables. See HUD’s Regulatory Agreement for Nursing Homes, Rider,

I. A copy of the Regulatory Agreement is annexed as Exhibit “A”.

               3.      Pursuant to an intercreditor agreement by and between, among other

parties, Capital Funding and Capital Finance, LLC, who provided the Debtors with working

capital loans, Capital Funding’s security interest in certain of its collateral was subordinated to

that of Capital Finance.
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                4.     As discussed in Armor Road’s papers, as well as in Capital Finance’s

Joinder [Doc. No. 58], the Debtors are apparently continuing to move forward with the

implementation of their closure plan at a frenzied pace, which may cause irreparable harm to the

estate, and in turn, Capital Funding’s collateral. The value of Capital Funding’s collateral is tied

to the Property being utilized as an operating facility. Transferring patients and otherwise

pursuing an accelerated closure of the facility is effectively dissipating a potentially valuable

asset of the estate.

                5.     As further discussed in Armor Road’s papers, within 48 hours of the final

patient’s discharge, the Debtors will be required to surrender their Operating Certificate to the

New York Department of Health, which is not only a violation of the HUD Regulatory

Agreement, see Regulatory Agreement, paragraph 5, but would drastically reduce, if not

completely eliminate, any going concern value of the facility.

                6.     Indeed, to preserve the going concern value of HUD insured loans, HUD

prohibits an operator from discontinuing the intended use of the project as a skilled nursing

facility, or from altering any permit or approval without HUD’s approval. See HUD’s

Regulatory Agreement for Nursing Homes, Rider, B.5(a) & (b).

                7.     Thus, until the Debtors can demonstrate that closing the facility will

enhance, or at least preserve, the value of the estate, and, in turn, the value of Capital Funding’s

collateral, they should be enjoined from continuing to shut down the facility.



                                     [Intentionally left blank.]




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               WHEREFORE, Capital Funding respectfully requests that the Court grant Armor

Road’s application for a temporary restraining order and preliminary injunction enjoining the

Debtors from implementing their plan of closure, deny the Debtors’ motion approving the plan

of closure, and grant Capital Funding such other and further relief as is just and proper.

Dated: Tarrytown, New York
       September 26, 2019
                                              WHITEFORD, TAYLOR & PRESTON LLP


                                              By: /s/ Kenneth M. Lewis
                                                  Kenneth M. Lewis

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